JS 44 (Rev. 10/20)                  Case 2:21-cv-04651-JMY
                                                      CIVILDocument
                                                            COVER 1SHEET
                                                                     Filed 10/22/21 Page 1 of 28
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                      DEFENDANTS
          KATHERINE BRESLIN                                                                                            B LAB COMPANY
    (b)   County of Residence of First Listed Plaintiff               Montgomery                                       County of Residence of First Listed Defendant                    Chester
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                          Attorneys (If Known)
      Katherine C. Oeltjen, Esquire
      Console Mattiacci Law, LLC 1525 Locust Street 9th Floor
      Philadelphia, PA 19102     215-545-7676
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                   (For Diversity Cases Only)                                         and One Box for Defendant)
    1   U.S. Government                ✖ 3     Federal Question                                                                             PTF             DEF                                         PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                               Citizen of This State            1               1      Incorporated or Principal Place         4     4
                                                                                                                                                                       of Business In This State

    2   U.S. Government                  4     Diversity                                                     Citizen of Another State                2          2    Incorporated and Principal Place                 5        5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                                         of Business In Another State

                                                                                                             Citizen or Subject of a                 3          3    Foreign Nation                                   6        6
                                                                                                               Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                   Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                   TORTS                                     FORFEITURE/PENALTY                            BANKRUPTCY                           OTHER STATUTES
    110 Insurance                      PERSONAL INJURY                      PERSONAL INJURY                     625 Drug Related Seizure                  422 Appeal 28 USC 158                 375 False Claims Act
    120 Marine                         310 Airplane                        365 Personal Injury -                    of Property 21 USC 881                423 Withdrawal                        376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                    Product Liability                690 Other                                     28 USC 157                            3729(a))
    140 Negotiable Instrument               Liability                      367 Health Care/                                                                                                     400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                    Pharmaceutical                                                            PROPERTY RIGHTS                        410 Antitrust
        & Enforcement of Judgment           Slander                            Personal Injury                                                            820 Copyrights                        430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’                  Product Liability                                                          830 Patent                            450 Commerce
    152 Recovery of Defaulted               Liability                      368 Asbestos Personal                                                          835 Patent - Abbreviated              460 Deportation
         Student Loans                 340 Marine                              Injury Product                                                                 New Drug Application              470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                      Liability                                                                  840 Trademark                             Corrupt Organizations
    153 Recovery of Overpayment             Liability                     PERSONAL PROPERTY                              LABOR                            880 Defend Trade Secrets              480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle                   370 Other Fraud                      710 Fair Labor Standards                      Act of 2016                           (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle                   371 Truth in Lending                     Act                                                                         485 Telephone Consumer
    190 Other Contract                     Product Liability               380 Other Personal                   720 Labor/Management                      SOCIAL SECURITY                           Protection Act
    195 Contract Product Liability     360 Other Personal                      Property Damage                      Relations                             861 HIA (1395ff)                      490 Cable/Sat TV
    196 Franchise                          Injury                          385 Property Damage                  740 Railway Labor Act                     862 Black Lung (923)                  850 Securities/Commodities/
                                       362 Personal Injury -                   Product Liability                751 Family and Medical                    863 DIWC/DIWW (405(g))                    Exchange
                                           Medical Malpractice                                                      Leave Act                             864 SSID Title XVI                    890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                     PRISONER PETITIONS                    790 Other Labor Litigation                865 RSI (405(g))                      891 Agricultural Acts
    210 Land Condemnation              440 Other Civil Rights              Habeas Corpus:                       791 Employee Retirement                                                         893 Environmental Matters
    220 Foreclosure                    441 Voting                          463 Alien Detainee                       Income Security Act                  FEDERAL TAX SUITS                      895 Freedom of Information
    230 Rent Lease & Ejectment       ✖ 442 Employment                      510 Motions to Vacate                                                         870 Taxes (U.S. Plaintiff                  Act
    240 Torts to Land                  443 Housing/                            Sentence                                                                       or Defendant)                     896 Arbitration
    245 Tort Product Liability             Accommodations                  530 General                                                                   871 IRS—Third Party                    899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -          535 Death Penalty                        IMMIGRATION                               26 USC 7609                           Act/Review or Appeal of
                                           Employment                      Other:                               462 Naturalization Application                                                      Agency Decision
                                       446 Amer. w/Disabilities -          540 Mandamus & Other                 465 Other Immigration                                                           950 Constitutionality of
                                           Other                           550 Civil Rights                         Actions                                                                         State Statutes
                                       448 Education                       555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3    Remanded from                     4 Reinstated or               5 Transferred from
                                                                                                                                                    6 Multidistrict                                        8 Multidistrict
      Proceeding             State Court                               Appellate Court                     Reopened                      Another District
                                                                                                                                                        Litigation -                                         Litigation -
                                                                                                                                         (specify)      Transfer                                             Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 U.S.C. §2000e, et seq. (“Title VII”); 42 U.S.C. §12101, et seq. (“ADA”); 29 U.S.C. §2601, et seq. (“FMLA”); 43 P.S. §951, et seq. (“PHRA”); Phila. Code §9-1101, et seq. (“PFPO”).
VI. CAUSE OF ACTION                      Brief description of cause:
                                             Plaintiff was terminated while on medical leave after being subjected to a hostile work environment.
VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                   DEMAND $                              CHECK YES only if demanded in complaint:
                                             UNDER RULE 23, F.R.Cv.P.                   in excess of $75,000
     COMPLAINT:                                                                                                                      JURY DEMAND:         ✖ Yes       No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                             JUDGE                                                                            DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
October 22, 2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                          JUDGE                                  MAG. JUDGE
                             Case 2:21-cv-04651-JMY
                                                UNITEDDocument   1 Filed
                                                      STATES DISTRICT    10/22/21 Page 2 of 28
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                           Bala Cynwyd, PA
Address of Plaintiff: ______________________________________________________________________________________________
                                                  15 Waterloo Avenue, Berwyn, PA
Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      10/22/2021
DATE: __________________________________                           V.DWKHULQH&2HOWMHQ
                                                             __________________________________________                                    318037
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

     Katherine C. Oeltjen, Esquire counsel of record or pro se plaintiff, do hereby certify:
I, ____________________________________________,


     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


      10/22/2021
DATE: __________________________________
                                                                   V.DWKHULQH&2HOWMHQ
                                                             __________________________________________                                    318037
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM
                                                  :                          CIVIL ACTION
 KATHERINE BRESLIN                                :
                       v.   Plaintiff,            :
 B LAB COMPANY                                    :
                                                  :                          NO.
                              Defendant.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( X)


10/22/2021                                                          Plaintiff, Katherine Breslin
Date                                Attorney-at-law                      Attorney for
 215-545-7676                   215-565-2859                          oeltjen@consolelaw.com

Telephone                           FAX Number                           E-Mail Address


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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA


 KATHERINE BRESLIN,
 Bala Cynwyd, Pennsylvania                       CIVIL ACTION NO.

                       Plaintiff,
        v.                                       JURY TRIAL DEMANDED

 B LAB COMPANY,
 15 Waterloo Avenue
 Berwyn, Pennsylvania

                       Defendant.



                                         COMPLAINT
  I.   INTRODUCTION
       Katherine Breslin (“Plaintiff”), an experienced attorney working within the non-profit

sector, was terminated from her position as General Counsel without warning while on medical

leave for emotional distress caused by a sex-based and retaliatory hostile work environment within

Defendant, B Lab Company’s (“Defendant”), organization. Defendant purports to identify and

certify for-profit companies that meet a series of standards established by Defendant, including in

connection with requiring non-discriminatory and non-retaliatory employment practices of the

companies it designates as “Certified B Corporations.” Yet, when Plaintiff complained internally

of discrimination, she was subjected to a hostile work environment and terminated. Plaintiff now

brings claims pursuant to Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e,

et seq. (“Title VII”); the Americans with Disabilities Act, as amended, 42 U.S.C. §12101, et seq.

(“ADA”); the Family Medical Leave Act, 29 U.S.C. §2601, et seq. (“FMLA”); the Pennsylvania

Human Relations Act, as amended, 43 P.S. §951, et seq. (“PHRA”); and the Philadelphia Fair

Practices Ordinance, Phila. Code §9-1101, et seq. (“PFPO”).
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  II.    PARTIES

          1.     Plaintiff is an individual and citizen of Pennsylvania. She resides in Bala Cynwyd,

Pennsylvania.

          2.     Defendant B Lab Company is a Pennsylvania corporation with a principal place of

business located at 15 Waterloo Avenue, Berwyn, Pennsylvania 19312.

          3.     Defendant is engaged in an industry affecting interstate commerce and regularly

does business in the Commonwealth of Pennsylvania, including without limitation, within and

throughout the City of Philadelphia.

          4.     At all times material hereto, Plaintiff worked for Defendant out of its Berwyn

headquarters, its Ten Penn Center, Philadelphia, PA office, or remotely from her home in Bala

Cynwyd.

          5.     At all times material hereto, Defendant acted by and through its authorized agents,

servants, workmen, and/or employees acting within the course and scope of their employment with

Defendant and in furtherance of Defendant’s business.

          6.     At all times material hereto, Defendant acted as an employer within the meaning of

the statutes which form the basis of this matter.

          7.     At all times material hereto, Plaintiff was an employee of Defendant within the

meaning of the statutes that form the basis of this matter.

          8.     Defendant is a covered employer within the meaning of the statutes that form the

basis of this matter.




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 III.   JURISDICTION AND VENUE

         9.     The causes of action which form the basis of this matter arise under Title VII, the

ADA, the FMLA, the PHRA, and the PFPO.

         10.    The District Court has jurisdiction over Count I (Title VII), Count II (ADA), and

Count III (FMLA) pursuant to and 28 U.S.C. §1331.

         11.    The District Court has jurisdiction over Count IV (PHRA) and Count V (PFPO)

pursuant to 28 U.S.C. §1367.

         12.    Venue is proper in this District Court under 28 U.S.C. §1391(b) because a

substantial part of the events giving rise to these claims occurred within this District.

         13.    On or about October 12, 2020, Plaintiff filed a Charge of Discrimination with the

Equal Employment Opportunity Commission “EEOC” (No. 530-2021-00196) complaining of the

acts of discrimination and retaliation alleged herein. Attached hereto, incorporated herein, and

marked as Exhibit “1” is a true and correct copy of the EEOC Charge of Discrimination (with

personal identifying information redacted).

         14.    On or about July 27, 2021, the EEOC issued Plaintiff a Notice of Right to Sue.

Attached hereto and marked as Exhibit “2” is a true and correct copy of the Notice (with personal

identifying information redacted).

         15.    Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.




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 IV.    FACTUAL ALLEGATIONS

         16.    Plaintiff was hired on or about May 17, 2019, as General Counsel for Defendant.

Plaintiff’s official “start date” was June 17, 2019.

         17.    Defendant is a non-profit, Section 501(c)(3) organization that has created a

certification for, and awards a certification to, for-profit organizations for meeting standards

relating to sustainability, accountability, transparency and performance, including in connection

with employment practices.

         18.    Plaintiff reported to Susan Cori (“Cori”) (female), Chief Operating Officer

(“COO”).

         19.    Cori reported to Andrew Kassoy (“Kassoy”) (male), Co-Founder and CEO of “B

Lab Global,” a division of Defendant.

         20.    Beginning in December 2019, Cori began reporting to Vale Jokisch (“Jokisch”)

(female), Executive Director of Defendant’s People & Operations.

         21.    Almost immediately after Plaintiff began working for Defendant, Barton Houlihan

(“Houlihan”) (male), Co-Founder of B Lab, engaged in physical touching of Plaintiff without her

consent in an aggressive and domineering manner.

         22.    Houlihan jabbed Plaintiff with his fingers to get her to maintain eye contact rather

than take notes during a meeting.

         23.    Houlihan poked Plaintiff on at least one occasion in the kitchen of Defendant’s

Berwyn location.

         24.    Houlihan touched the small of Plaintiff’s back without permission to “guide” her

out of a meeting.




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         25.      Houlihan did not respect Plaintiff’s personal space and sat uncomfortably close to

her in meetings.

         26.      At the same time, Jay Coen Gilbert (“Coen Gilbert”) (male), Co-Founder of B Lab,

subjected Plaintiff to discriminatory and hostile treatment including by way of refusing to

acknowledge Plaintiff when she spoke to him directly, assigning her lengthy and unnecessary work

assignments in direct contrast to Cori’s wishes, and ignoring her requests for information that she

needed to perform her assigned responsibilities for Defendant.

         27.      When Coen Gilbert did acknowledge Plaintiff, he did so in a derisive manner.

         28.      Coen Gilbert also interfered with and removed personal property from Plaintiff’s

desk in the office without her permission.

         29.      Plaintiff did not observe Houlihan and Coen Gilbert treat male employees in the

same manner that they treated her.

         30.      On or about October 9, 2019, Plaintiff complained of sex discrimination to Cori

during an in-person, off-site meeting.

         31.      The same day, Cori called Plaintiff in the evening to let her know that she had

spoken to Jokisch and Olivia Lee (“Lee”) (female), HR Director, and reported her complaint of

discrimination.

         32.      Cori also told Plaintiff that because of the treatment she had been subjected to,

Plaintiff could work remotely or wherever she felt comfortable moving forward (at home, in the

Berwyn office, or in the Philadelphia office).

         33.      In or around October 11, 2019, Plaintiff complained of sex discrimination to

Jokisch. Plaintiff asked Jokisch to move her desk in the office to a location further away from Coen

Gilbert since, at the time, she was assigned to a workspace directly across from him.



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         34.    Between October 2019 and January 2020, Plaintiff frequently worked from home

in order to avoid the sex discriminatory and harassing conduct to which she was being subjected,

including inappropriate and repeated physical touching by Houlihan and demeaning behavior on

the part of Coen Gilbert.

         35.    Plaintiff continued to perform all aspects of her job in a proficient manner.

         36.    During the period of October 2019 through January 2020, Houlihan refused to

provide Plaintiff with the information that she needed and asked for in order to perform her job

duties on a range of matters.

         37.    Cori was aware of Houlihan’s conduct.

         38.    After Plaintiff complained of sex discrimination to her, Cori subjected Plaintiff to

the following discriminatory and retaliatory conduct, without limitation:

            a. Cori expressed anger to Plaintiff when she worked from home (per Defendant’s
               instruction) or the Philadelphia office despite her knowledge that Plaintiff had
               permission to work in any location, including from home. Cori also required
               Plaintiff to appear in person for certain meetings despite not requiring anyone else
               to do the same;

            b. Cori, who is not an attorney, undermined Plaintiff’s legal advice and efforts to
               provide legal services to the company;

            c. Cori excluded Plaintiff from her access to strategic discussions and meetings;

            d. Cori, without any basis, accused Plaintiff of “lying” when she worked from home
               one day instead of the Berwyn office due to illness;

            e. Cori expressed anger to Plaintiff when she did not immediately answer a late-night
               text about a non-work matter;

            f. Cori made remarks that Plaintiff understood were intended to shame her for not
               having children; and,

            g. Cori refused to speak to Plaintiff at the holiday party despite the fact she was
               Plaintiff’s direct supervisor.

         39.    In mid-December 2019, Cori began reporting to Jokisch.

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         40.    In or about late December 2019, Plaintiff complained to Jokisch of the retaliatory

and discriminatory conduct described above and requested a change in reporting structure.

         41.    Defendant did not grant Plaintiff’s request for a change in reporting structure.

         42.    Defendant did not conduct any investigation into Plaintiff’s complaints of

discrimination and retaliation.

         43.    On or about February 7, 2020, Cori gave Plaintiff an unwarranted negative

performance review. The “review” included false and inaccurate information about Plaintiff’s

performance.

         44.    On or about February 10, 2020, Plaintiff provided Cori and Jokisch with details

about the inaccuracies and unwarranted criticism contained within the performance review.

         45.    On or about February 10, 2020, Plaintiff complained to Lee of on-going retaliation

by Cori in writing via Defendant’s “Slack” messaging system.

         46.    Lee verbally acknowledged receipt of the complaint but took no further action.

         47.    On or about February 14, 2020, Plaintiff met with Jokisch at an off-site location

across the street from work to discuss Plaintiff’s comments to Cori’s review and to again discuss

her request for a reporting change.

         48.    Jokisch told Plaintiff her request was denied.

         49.    On or about February 19, 2020, Plaintiff was called into a meeting with Cori,

Jokisch, and Lee and told that she had “hurt [Cori’s] feelings” and that she was setting a bad

example. Plaintiff was otherwise told that Defendant would discuss her comments to her

performance review later.




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           50.   After Cori and Jokisch left the meeting, Plaintiff asked Lee if she was aware that

Houlihan had inappropriately touched her and that she had reported the touching to Cori and

Jokisch.

           51.   In response, Lee looked at Plaintiff and asked, “Katherine, why are you doing this?”

           52.   Plaintiff continued to be subjected to discriminatory and retaliatory treatment,

including by way of micromanagement and isolation.

           53.   In or around June 22, 2020, Plaintiff learned that Cori and Lee, both members of

the People and Operations team, had consulted with an outside attorney regarding an internal

employment matter, instead of consulting with her, the General Counsel of B Lab.

           54.   Defendant purposely excluded Plaintiff from the communication and made it

difficult for her to perform her job duties.

           55.   On or about July 16, 2020, Plaintiff had her Q2 performance review during which

Cori again unjustly criticized her personality and job performance, including, without limitation,

falsely stating that that she was a “reactive” person, that no one on her team at B Lab liked her, that

she was not able to be trusted with sensitive information, and that she was not a good “business

partner.” The meeting concluded with Cori telling Plaintiff that she was required to re-write her job

description for Q3.

           56.   During multiple calls between July 18, 2020, and July 21, 2020, Plaintiff

complained to Kassoy about the discriminatory and retaliatory conducted she had been subjected

to. Kassoy implied that Plaintiff was not a “good fit.”

           57.   Plaintiff told Kassoy that she was working on a number of projects that required

months of work and that, without regard to whether or not she was a “good fit,” she intended to

complete the projects on Defendant’s behalf.



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          58.   During a conversation on or about July 18, 2020, Plaintiff expressly stated to

Kassoy that she was “terrified” in making the discrimination complaints as she feared on-going

retaliation.

          59.   Plaintiff reminded/explained to Kassoy that her husband has a serious medical

condition/disability, that they relied upon the medical benefits they received through Defendant for

his well-being, and that she needed to keep working for Defendant in order to have access to

affordable medications that her husband requires to remain alive.

          60.   On or about July 21, 2020, Jokisch told Plaintiff that Defendant had consulted with

an outside employment attorney after her February 2020 meeting with Jokisch, Cori, and Lee.

          61.   During the call with Jokisch on or about July 21, 2020, Plaintiff complained to

Defendant about on-going discriminatory and retaliatory treatment.

          62.   Amid the treatment outlined above, without limitation, Plaintiff experienced

serious emotional upset, requiring medical treatment for her disability.

          63.   On or about July 24, 2020, at around 2:20pm, Plaintiff emailed Jokisch, Cori, and

Lee requesting medical leave pursuant to the FMLA and Defendant’s policies amid her disability

in the form of mental health issues related to Defendant’s illegal and inappropriate conduct. Plaintiff

attached documentation from her physician to the email.

          64.   Plaintiff’s request for medical leave was also a request for a reasonable

accommodation for her disability.

          65.   Approximately one hour later, Plaintiff received an email from Jokisch which stated

that it served as confirmation of her resignation. It further stated that “[n]otification of your

intention to voluntarily separate from B Lab Company was received verbally by Andrew Kassoy

on July 20th and by me on July 21st.”



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         66.    Plaintiff never resigned.

         67.    Jokisch’s email contained false statements.

         68.    Defendant falsely stated that Plaintiff had resigned from her position as General

Counsel of B Lab.

         69.    Plaintiff never resigned her employment nor did Defendant act as if she had until

she requested a medical leave and/or an accommodation for her disability in the form of medical

leave.

         70.    Plaintiff was very upset by Jokisch’s false statements, and the de facto termination

of her employment contained within the July 24, 2020, email.

         71.    That same day, Plaintiff responded to Jokisch via email stating that she had not, at

any time, resigned. Plaintiff complained that Jokisch’s July 24th email was further retaliation for

her complaints of sex discrimination.

         72.    On or about July 24, 2020, Defendant acknowledged Plaintiff had never resigned

by approving her for FMLA leave for her disability.

         73.    On or about September 30, 2020, while on medical leave for her disability,

Defendant terminated Plaintiff’s employment.

         74.    Plaintiff’s termination was effective immediately.

         75.    The only reason given for Plaintiff’s termination was “I am writing to notify you

that B Lab has eliminated the General Counsel position. The organization is undergoing 2021

strategic planning, including implementing structural and resource shifts. We do not have plans to

backfill this position and will outsource as needed to external counsel.”




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         76.    Upon information and belief, Defendant has offered different reasons for Plaintiff’s

termination to its employees, including by way of defamatory language indicating that Plaintiff had

not performed her job competently.

         77.    Defendant’s stated reason for Plaintiff’s termination is pretextual.

         78.    Defendant has hired internal counsel and has not, in fact, fully outsourced legal

services to external counsel.

         79.    Plaintiff’s sex was a motivating and/or determinative factor in connection with

Defendant’s discriminatory and retaliatory treatment of Plaintiff, including without limitation in

connection with subjecting Plaintiff to a hostile work environment and her termination.

         80.    The discriminatory conduct of Defendant, as alleged herein, was severe and/or

pervasive enough to make a reasonable person believe that the conditions of employment had been

altered and that a hostile work environment existed, and made Plaintiff believe that the conditions

of employment had been altered and that a hostile work environment existed.

         81.    Plaintiff’s complaining of sex discrimination was a motivating and/or

determinative factor in Defendant’s retaliatory treatment of Plaintiff including without limitation in

connection with subjecting her to a hostile work environment and her termination.

         82.    Plaintiff’s disability, including her record of disability and Defendant’s regarding

her as having a disability, as well as her association with her husband, who also has a disability and

who Defendant regarded as having a disability, was a motivating and/or determinative factor in

connection with Defendant’s discriminatory treatment of Plaintiff, including in connection with her

termination, without limitation.

         83.    At all times material hereto, Plaintiff was able to perform the essential functions of

her job with or without a reasonable accommodation.



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             84.   Plaintiff’s requests for leave and/or for reasonable accommodations were

motivating and/or determinative factor(s) in Defendant’s discriminatory and retaliatory treatment

of Plaintiff, including in connection with her termination, without limitation.

             85.   Defendant failed to prevent or address the discriminatory, harassing, and retaliatory

conduct referred to herein and further failed to take corrective and remedial measures to make the

workplace free of discriminatory, harassing, and retaliatory conduct.

             86.   As a direct and proximate result of Defendant’s discriminatory, harassing, and

retaliatory conduct, Plaintiff has in the past incurred, and may in the future incur, a loss of earnings

and/or earning capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of

self-esteem, mental anguish, and loss of life’s pleasures, the full extent of which is not known at

this time.

             87.   Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s discriminatory, harassing, and retaliatory acts unless

and until this Court grants the relief requested herein.

             88.   No previous application has been made for the relief requested herein.


                                          COUNT I – TITLE VII

             89.   Plaintiff incorporates by reference each of the preceding paragraphs as if each were

set forth herein in its entirety.

             90.   By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant has violated Title VII.

             91.   Defendant acted intentionally, and with malice and/or reckless indifference to

Plaintiff’s rights, and its conduct warrants the imposition of punitive damages.




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          92.    As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.

          93.    Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s violation of Title VII unless this Court grants the relief

requested herein.

                                         COUNT II – ADA

          94.    Plaintiff incorporates by reference each of the preceding paragraphs as if each were

set forth herein in its entirety.

          95.    By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant has violated the ADA.

          96.    Said violations were done with malice and/or reckless indifference to Plaintiff’s

protected rights and warrant the imposition of punitive damages.

          97.    As a direct and proximate result of Defendant’s violation of the ADA, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.

          98.    Plaintiff suffered and may continue to suffer irreparable injury and monetary

damages as a result of Defendant’s discriminatory and retaliatory acts unless and until this Court

grants the relief requested herein.

                                       COUNT III – FMLA

          99.    Plaintiff incorporates by reference each of the preceding paragraphs as if each were

set forth herein in its entirety.

          100. By committing the foregoing acts against Plaintiff, Defendant has violated the

FMLA.

          101. Defendant’s conduct was retaliatory and interfered with her rights under the FMLA.

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          102. Said violations were willful, not in good faith, and Defendant did not have

reasonable grounds to believe that the foregoing acts were not in violation of the FMLA.

          103. The imposition of liquidated damages is warranted.

          104. As a direct and proximate result of Defendant’s violations of the FMLA, Plaintiff

has suffered damages and losses set forth herein and has incurred attorneys’ fees and costs.

          105. Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s violations of the FMLA unless this Court grants the

relief requested herein.

                                       COUNT IV – PHRA

          106. Plaintiff incorporates by reference each of the preceding paragraphs as if each were

set forth herein in its entirety.

          107. By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant has violated the PHRA.

          108. Said violations were intentional and willful.

          109. As a direct and proximate result of Defendant’s violation of the PHRA, Plaintiff

has suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.

          110. Plaintiff suffered and may continue to suffer irreparable injury and monetary

damages as a result of Defendant’s discriminatory and retaliatory acts unless and until this Court

grants the relief requested herein.

                                        COUNT V – PFPO

          111. Plaintiff incorporates by reference each of the preceding paragraphs as if each were

set forth herein in its entirety.




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         112. By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant has violated the PFPO.

         113. Said violations were done with malice and/or reckless indifference to Plaintiff’s

protected rights, and were especially egregious, warranting the imposition of punitive damages.

         114. As a direct and proximate result of Defendant’s violation of the PFPO, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.

         115. Plaintiff suffered and may continue to suffer irreparable injury and monetary

damages as a result of Defendant’s discriminatory and retaliatory acts unless and until this Court

grants the relief requested herein.

         116. No previous application has been made for the relief requested herein.

                                               RELIEF

        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

Defendants’ improper conduct, and specifically prays that the Court grant the following relief to

Plaintiff by:

        a.       Declaring the acts and practices complained of herein to be in violation of Title VII;

        b.       Declaring the acts and practices complained of herein to be in violation of the ADA;

        c.       Declaring the acts and practices complained of herein to be in violation of the

        FMLA;

        d.       Declaring the acts and practices complained of herein to be in violation of the

        PHRA;

        e.       Declaring the acts and practices complained of herein to be in violation of the

        PFPO;

        f.       Enjoining and permanently restraining the violations alleged herein;


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      g.       Entering judgment against Defendant and in favor of Plaintiff in an amount to be

      determined;

      h.       Awarding compensatory damages to make Plaintiff whole for all lost earnings,

      earning capacity, and benefits, which Plaintiff has suffered as a result of Defendant’s

      improper conduct;

      i.       Awarding compensatory damages to Plaintiff for past pain and suffering, emotional

      upset, mental anguish, humiliation, and loss of life’s pleasures, which Plaintiff has suffered

      as a result of Defendant’s improper conduct;

      j.       Awarding liquidated damages to Plaintiff;

      k.       Awarding punitive damages to Plaintiff;

      l.       Awarding Plaintiff other such damages as are appropriate under Title VII, the ADA,

      the FMLA, the PHRA, the PFPO;

      m.       Awarding Plaintiff the costs of suit, expert fees and other disbursements, and

      reasonable attorneys’ fees; and

      n.       Granting such other and further relief as this Court may deem just, proper, or

      equitable including other equitable and injunctive relief providing restitution for past

      violations and preventing future violations.




                                            CONSOLE MATTIACI LAW LLC

Dated: October 22, 2021                      By:     /s/ Katherine C. Oeltjen_________
                                                     Katherine C. Oeltjen, Esquire (318037)
                                                     1525 Locust Street, 9th Floor
                                                     Philadelphia, PA 19102
                                                     (215) 545-7676
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2. Harm Summary

A. I believe that Respondent has discriminated against me because of my sex and disability and
retaliated against me for complaining of sex discrimination and taking a medical leave for my
disability, including by way of subjecting me to a hostile work environment and terminating me
while on medical leave. Evidence of the discriminatory and retaliatory conduct to which I have
been subjected includes, but is not limited to, the following:

   1. Almost immediately after I began working for Respondent, Barton Houlihan (“Houlihan”),
      (male), Co-Founder of B Lab engaged in physical touching of me without my consent in
      an aggressive, domineering manner, including jabbing me with his fingers to get me to
      maintain eye contact rather than take notes, poking at me in the kitchen while heating up
      my food to remark on my use of hot sauce, touching the small of my back to guide me out
      of a meeting, and sitting aggressively close in meetings.

   2. At the same time, Jay Coen Gilbert (“Coen Gilbert”) (male), another Co-Founder of B
      Lab, subjected me to discriminatory and hostile treatment including by way of refusing to
      acknowledge me when I spoke to him directly, assigning me lengthy and unnecessary work
      assignments in direct contrast to Cori’s wishes, ignoring my requests for information that
      I needed in order to perform my assigned responsibilities for Respondent and, when he did
      decide to acknowledge me, doing so in an aggressive and derisive manner. Coen Gilbert
      also interfered with and removed personal property from my desk in the office without my
      permission.

   3. I did not observe Houlihan and Coen Gilbert treat male employees in the same manner that
      they treated me.

   4. On or about October 9, 2019, I complained of sex discrimination to Cori during an in-
      person, off-site meeting at a coffee house.

   5. The same day, Cori called me in the evening to let me know that she had spoken to Jokisch
      and Olivia Lee (“Lee”) (female), HR Director and reported my complaint of
      discrimination. Cori also told me that amid the treatment I had been subjected to, I could
      work remotely or in Respondent’s Berwyn or Philadelphia offices and that I could work
      wherever I felt comfortable moving forward (at home, in the Berwyn office, or in the
      Philadelphia office).

   6. In or around October 11, 2019, I complained of sex discrimination to Jokish. I asked Jokish
      to move my desk in the office to a location further away from Coen Gilbert. At the time, I
      was assigned to a workspace directly across from him.

   7. Between October 2019 and January 2020, I frequently worked from home in order to avoid
      the sex discriminatory and harassing conduct to which I was being subjected, including
      inappropriate and repeated physical touching by Barton Houlihan, and the demeaning
      behavior on the part of Coen Gilbert.
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8. I continued to perform all aspects of my job in a proficient manner.

9. During the period of October 2019 through January 2020, Houlihan continued to refuse to
   provide me with information that I needed and asked for in order to perform my job duties
   on a range of matters.

10. Cori was aware of Houlihan’s conduct.

11. After I complained of sex discrimination to her, Cori subjected me to the following
    discriminatory and retaliatory conduct, without limitation:

       a. Cori expressed anger to me when I worked from home (per Respondent’s
          instruction) or the Philadelphia office despite her knowledge that I had permission
          to work in any location, including from home. Cori also required me to appear in
          person for certain meetings despite not requiring anyone else to do the same;

       b. Cori, who is not an attorney, undermined my legal advice and efforts to provide
          legal services to the company;

       c. Cori excluded me from my access to strategic discussions and meetings in an effort
          to impede me from performing my job;

       d. Cori, without any basis, accused me of “lying” when I worked from home one day
          instead of the Berwyn office due to illness;

       e. Cori expressed anger to me when I did not immediately answer a late-night text
          about a non-work matter;

       f. Cori made remarks that I understood were intended to shame me for not having
          children; and,

       g. Cori refused to speak to me at our holiday party despite the fact she was my direct
          supervisor.

12. In mid-December 2019, Cori began reporting to Jokisch.

13. In or about late December, 2019 I complained to Jokish of the retaliatory and
    discriminatory conduct described above and requested a change in reporting structure.

14. Respondent did not grant my request for a change in reporting structure.

15. Respondent did not conduct any investigation into my complaints of discrimination and
    retaliation.

16. On or about February 7, 2020, Cori gave me an unwarranted negative performance review.
    The “review” included false and inaccurate information about my performance.
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17. On or about February 10, 2020, I provided Cori and Jokisch with details about the
    inaccuracies and unwarranted criticism contained within the negative performance review.

18. On or about February 10, 2020, I complained to Lee of on-going retaliation by Cori in
    writing via Respondent’s “Slack” messaging system.

19. Lee verbally acknowledged receipt of the claim but took no further action.

20. On or about February 14, 2020, I met with Jokisch at an off-site location across the street
    from work to discuss my comments to Cori’s review and to again discuss my request for a
    reporting change. Jokisch told me my request was denied.

21. On or about February 19 2020 I was called into a meeting with Cori, Jokisch, and Lee and
    told that I had “hurt [Cori’s] feelings” and that I was setting a bad example. I was otherwise
    told that Respondent would discuss my comments to my performance review at a later date.

22. After Cori and Jokisch left the meeting, I asked Lee if she was aware that Houlihan had
    inappropriately touched me, and that I had reported it to Cori and Jokisch.

23. In response, Lee looked at me and asked “Katherine, why are you doing this?”

24. In late February 2020, I completed a Q1 performance review under Respondent’s “new”
    performance review system.

25. I continued to be subjected to discriminatory and retaliatory treatment, including by way
    of micromanagement and isolation.

26. In or around June 22, 2020, I learned that Cori and Lee, both members of the People and
    Operations team, had consulted with an outside attorney regarding an internal employment
    matter, instead of consulting with me, the General Counsel of B Lab.

27. Respondent purposely excluded me from the communication and made it difficult for me
    to perform my job duties.

28. On or about July 16, 2020, I had my Q2 performance review during which Cori again
    unjustly criticized my personality and job performance, including without limitation falsely
    stating that that I am a “reactive” person, that no one on my team at B Lab likes me, that I
    am not able to trusted with sensitive information, and that I am not a good “business
    partner.” The meeting concluded with Cori telling me that I was required to re-write my
    job description for Q3.

29. During multiple calls between July 18, 2020 and July 21, 2020, I complained to Kassoy
    about the discriminatory and retaliatory conducted I had been subjected to. Kassoy implied
    that I was not a “good fit.” I told Kassoy that I was working on a number of projects that
    required months of work and that, without regard to whether or not I was a “good fit,” I
    intended to complete the projects on Respondent’s behalf.
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30. During a conversation on or about July 18, 2020, I expressly stated to Kassoy that I was
    “terrified” in making the discrimination complaints as I feared on-going retaliation. I
    reminded/explained to Kassoy that my husband has a serious medical condition/disability
    and that we relied upon the medical benefits we through Respondent, I needed to keep
    working for Respondent in order to have access to affordable medications that my husband
    requires to remain alive.

31. On or about July 21, 2020, Jokisch told me that Respondent had consulted with an outside
    employment attorney after my February 2020 meeting with her, Cori and Lee.

32. During the call with Jokisch on or about July 21, 2020, I complained to Respondent about
    on-going discriminatory and retaliatory treatment.

33. Amid the treatment outlined above, without limitation, I experienced serious emotional
    upset, requiring medical treatment amid a disability.

34. On or about July 24, 2020, at around 2:20pm, I emailed Jokisch, Cori, and Lee requesting
    medical leave pursuant to the Family and Medical Leave Act and Respondent’s policies
    amid a disability in the form of mental health issues related to Respondent’s illegal and
    inappropriate conduct. I attached appropriate documentation from my physician.

35. My request for medical leave was also a request for a reasonable accommodation for my
    disability.

36. Approximately one hour later, I received an email from Jokisch which stated that it served
    as confirmation of my resignation. It further stated that “[n]otification of your intention to
    voluntarily separate from B Lab Company was received verbally by Andrew Kassoy on
    July 20th and by me on July 21st.”

37. In retaliation for complaining of sex discrimination to Kassoy and seeking a reasonable
    accommodation in the form of medial leave for a disability, Respondent falsely stated that
    I had resigned from my position as General Counsel of B Lab.

38. I never resigned my employment.

39. On or about July 24, 2020, I responded to Jokisch via email stating that I had not, at any
    time, resigned. I complained that Respondent’s actions to falsely state that I had resigned
    was further retaliation for my earlier complaints of sex discrimination.

40. On or about July 24, 2020, Respondent acknowledged I had never resigned by approving
    me for FMLA leave for my disability.

41. On or about September 30, 2020, while on medical leave for my disability, Respondent
    terminated my employment.

42. My termination was effective immediately.
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   43. The only reason given for my termination was “I am writing to notify you that B Lab has
       eliminated the General Counsel position. The organization is undergoing 2021 strategic
       planning, including implementing structural and resource shifts. We do not have plans to
       backfill this position and will outsource as needed to external counsel.”

   44. Upon information and belief, Respondent has offered different reasons for my termination
       to its employees, including by way of defamatory language indicating that I had not
       performed my job competently.

   45. To the best of my knowledge, to date, Respondent has not investigated my complaints of
       sex discrimination and retaliation.

B. Respondent’s Stated Reason
        Respondent has not provided a legitimate, non-discriminatory reason for the discriminatory
and retaliatory treatment to which I have been subjected, including, but not limited to, subjecting
me to a hostile work environment. The stated reason for my termination is pre-textual.

C. Statutes and Bases of Allegations
        I believe Respondent has discriminated against me because of my sex and disability and
my association with my husband who has a disability and retaliated against me for complaining of
sex discrimination and for requiring medical leave for a disability in violation of Title VII of the
Civil Rights Act of 1964, as amended, 42 U.S.C. §2000(e) et seq. (“Title VII”), the Americans
with Disabilities Act, 42 U.S.C. § 12101, et seq., the Pennsylvania Human Relations Act, as
amended. 43. P.S. §951 et seq. (“PHRA”) and the Philadelphia Fair Practices Ordinance.
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